949 F.2d 402
    NOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Arthur J. VATHKE, Petitioner,v.MERIT SYSTEMS PROTECTION BOARD, Respondent.
    No. 91-3112.
    United States Court of Appeals, Federal Circuit.
    Sept. 23, 1991.
    
      46 M.S.P.R. 389.
      DISMISSED.
      ORDER
      ARCHER, Circuit Judge.
    
    
      1
      The Merit Systems Protection Board moves to dismiss Arthur J. Vathke's petition for review as moot.   Vathke has not filed an opposition.
    
    
      2
      Accordingly,
    
    IT IS ORDERED THAT:
    
      3
      (1) The MSPB's unopposed motion to dismiss is granted.
    
    
      4
      (2) Each side will bear its own costs.
    
    